Case 4:02-cr-00080-AWA-FBS Document 36 Filed 07/15/05 Page 1 of 11 PageID# 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                 Newport News Division

TAYLOR RENAE HUEY,
         Petitioner,

v.                                                           Civil Action No. 4:05cv1
                                                             Criminal Action No. 4:02cr80

UNITED STATES OF AMERICA,
          Respondent.

                                    ORDER AND OPINION

       Currently before the court is Taylor Renae Huey’s petition to vacate, set aside or correct a

sentence previously imposed, pursuant to Title 28, United States Code, Section 2255. The

petition is timely within the requirements of the Antiterrorism and Effective Death Penalty Act of

1996, 110 Stat. 1214 (1996). The petitioner argues that she received ineffective assistance of

counsel. Because the record conclusively demonstrates that the petitioner is not entitled to relief,

the court declines to hold an evidentiary hearing. See R. Governing § 2255 Proceedings in U.S.

Dist. Cts. 8(a). For the reasons set forth below, Huey’s petition is DENIED.



I.     Factual Background

       On June 20, 2002, petitioner was indicted on several charges relating to a conspiracy to

commit robbery: Count 1: conspiracy to commit robbery, in violation of Title 18, United States

Code Section 1951; Counts 2, 4-6, and 8-19: interference with commerce by robbery, in violation

of Title 18, United States Code Sections 1951 and 2; and Counts 3 and 7, using and brandishing

a firearm during a crime of violence, in violation of Title 18, United States Code Sections



                                                 1
Case 4:02-cr-00080-AWA-FBS Document 36 Filed 07/15/05 Page 2 of 11 PageID# 2




924(c)(1)(A)(ii), (c)(1)(C), and 2. On August 9, 2002, pursuant to a written plea agreement

reached with the United States, petitioner pleaded guilty to the conspiracy count and the 13

robbery counts. In accordance with the plea agreement, the other charges against petitioner were

dismissed by this court.

       Prior to sentencing, a presentence report was prepared by the Probation Office of this

court. On January 6, 2003, petitioner appeared for sentencing. Petitioner objected to not having

received a three-point reduction in her offense level for acceptance of responsibility and this

court determined that she qualified for such a reduction. Petitioner also objected to not having

received a four-point reduction for taking a minimal role in the offense, pursuant to U.S.S.G. §

3B1.2(a). This court determined that her role in the robberies was not minimal, and therefore

denied her objection.

       This court then considered the United States’ motion for upward departure, pursuant to

U.S.S.G. § 3D1.4. The United States argued that, under the procedure used for determining the

offense level on multiple counts, ten robberies were not taken into account in calculating

petitioner’s offense level. Because each robbery was grouped separately, there were a total of 16

units, yet under the relevant guidelines, any additional units in excess of five has no effect on a

defendant’s offense level. See U.S.S.G. § 3D1.4. The court accepted the United States’

reasoning and granted its motion for upward departure, noting the severity with which robbery is

treated in Virginia state courts. Thus, petitioner’s offense level was increased by ten points.

Based on an adjusted offense level of 40 points and a criminal history category of I, petitioner’s

guideline range was 292 to 365 months. Accordingly, this court sentenced petitioner to a term of

imprisonment of 292 months.


                                                  2
Case 4:02-cr-00080-AWA-FBS Document 36 Filed 07/15/05 Page 3 of 11 PageID# 3




       Although petitioner, as part of her plea agreement, waived her right to appeal any

sentence imposed within the statutory maximum for the offense, she filed notice of an appeal of

this court’s decision at sentencing on January 14, 2003. The Fourth Circuit granted the United

States’ motion to dismiss petitioner’s appeal on August 27, 2003. Petitioner then filed a

petitione for writ of certiorari to the United States Supreme Court on December 4, 2003. The

Supreme Court denied certiorari to petitioner on January 21, 2004.



II.    Procedural History

       On or about January 24, 2005, petitioner filed the instant petition to vacate, set aside, or

correct her sentence, pursuant to 28 U.S.C. § 2255. On February 22, 2005, petitioner filed a

memorandum of points and authorities in support of her petition. In her petition, petitioner

alleges that she received ineffective assistance from her retained counsel and that, were it not for

her attorney’s alleged errors, she would not have pleaded guilty. On April 8, 2005, this court

ordered the United States to respond to the petition.

       The United States filed a response to the petition on June 6, 2005, wherein it moved for

dismissal of petitioner’s claims without a hearing. On June 20, 2005, petitioner filed a reply to

the United States’ response.1 The matter is now before this court.



III.   Standard of Review



       1
         Although petitioner was given 20 days from the time of the United States’ response in
which to file a reply, if desired, her reply brief was not received by the Clerk of this court until
July 5, 2005, and was therefore filed subject to defect. However, petitioner has dated her reply
brief June 20, 2005, and this court will consider it as filed timely.

                                                  3
Case 4:02-cr-00080-AWA-FBS Document 36 Filed 07/15/05 Page 4 of 11 PageID# 4




       A petitioner collaterally attacking her sentence or conviction bears the burden of proving

that her sentence or conviction was imposed in violation of the United States Constitution or

laws, that the court was without jurisdiction to impose such a sentence, that the sentence

exceeded the maximum authorized by law, or that the sentence otherwise is subject to collateral

attack. 28 U.S.C. § 2255. A claim of ineffective assistance of counsel may, however, be

properly brought on a § 2255 petition. United States v. DeFusco, 949 F.2d 114, 120-21 (4th Cir.

1991). An evidentiary hearing is not required in this case because the case file, along with the

court’s recollection of the case, are adequate to dispose of the matter. See R. Governing § 2255

Proceedings in U.S. Dist. Cts 8(a); Blackledge v. Allison, 431 U.S. 63, 74 n.4 (1977).



IV.    Analysis

       The Sixth Amendment provides, in relevant part, that: “In all criminal prosecutions, the

accused shall enjoy the right . . . to have the Assistance of Counsel for his defence.” U.S. CONST .

amend. VI. The Sixth Amendment right to counsel includes the right to the effective assistance

of counsel. Strickland v. Washington, 466 U.S. 668, 686 (1984). The Supreme Court’s standard

for assessing ineffective assistance of counsel claims is “highly deferential.” Id. See

Kimmelman v. Morrison, 477 U.S. 365, 382 (1986) (discussing the Strickland standards). There

are two prongs to the Strickland test: performance and prejudice. To establish a claim for

ineffective assistance of counsel, petitioner must prove both: (1) that her attorney’s conduct fell

below an objective standard of reasonableness; and (2) that the attorney’s deficient performance

caused her prejudice. Strickland, 466 U.S. at 687-91.

       Actual prejudice is demonstrated by showing “a reasonable probability that, but for


                                                 4
Case 4:02-cr-00080-AWA-FBS Document 36 Filed 07/15/05 Page 5 of 11 PageID# 5




counsel’s unprofessional errors, the result of the proceeding would be different.” Id. at 694. “A

reasonable probability is a probability sufficient to undermine confidence in the outcome.” Id.

Under Strickland, “there exists a strong presumption that counsel’s conduct was within a wide

range of reasonably professional conduct, and courts must be highly deferential in scrutinizing

counsel’s performance.” Kratsas v. United States, 102 F. Supp. 2d 320, 322 (D. Md. 2000)

(citing Strickland, 466 U.S. at 688-89). Most importantly, the burden of proof lies with the

petitioner. United States v. Allgood, 48 F. Supp. 2d 554, 558 (E.D. Va. 1999). A petitioner’s

conclusory statements will not suffice to prove that there is a reasonable probability that the

outcome of her trial would have been different in the absence of her counsel’s alleged errors.

       A petitioner who alleges ineffective assistance of counsel following a guilty plea has an

even higher burden to meet. See Hill v. Lockhart, 474 U.S. 52, 59 (1985); Fields v. Attorney

Gen. of Md., 956 F.2d 1290, 1297-98 (4th Cir. 1992). Such a petitioner must demonstrate “that

there is a reasonable probability that, but for counsel’s errors, he would not have pleaded guilty

and would have insisted on going to trial.” Hill, 474 U.S. at 59. In evaluating a claim of

ineffective assistance of counsel made after a guilty plea, statements made under oath, such as

those made in a Rule 11 proceeding, are binding on the petitioner “[a]bsent clear and convincing

evidence to the contrary.” Fields, 956 F.2d at 1299. That a plea bargain is “favorable” to a

defendant and that accepting it was “a reasonable and prudent decision” is evidence of the

“voluntary and intelligent” nature of the plea. Id.

       In the instant case, although petitioner makes numerous claims about her counsel’s

alleged ineffectiveness, they all revolve around an agreement that had allegedly been reached

between petitioner’s attorney, Mr. Kevin Shea, and the Assistant United States Attorney wherein


                                                 5
Case 4:02-cr-00080-AWA-FBS Document 36 Filed 07/15/05 Page 6 of 11 PageID# 6




petitioner would plead guilty to certain offenses and be sentenced to between seven and ten years

imprisonment. Although there exists no evidence that such an agreement was ever made,

petitioner insists that Mr. Shea had promised her that her sentence would be between seven and

ten years, and that had she known that she was facing a sentence anywhere near the length of the

one she received, she would not have pleaded guilty.

       In support of her allegations, petitioner has attached affidavits to her petition from both

her mother and her aunt, attesting to their belief that Mr. Shea had promised petitioner that her

sentence would be in the range of seven to ten years. See Affidavits of Sherry Huey and Cynthia

Cutler. In response, the government has provided affidavits from both Mr. Shea and his office

manager, James Wiley. See Affidavits of Kevin P. Shea and James E. Wiley. Although the

substance of these affidavits conflict with the petitioner’s attestations and the affidavits of her

mother and aunt, the court finds that such conflict does not amount to a material issue of fact.

See Gaskins v. McKellar, 916 F.2d 941 (4th Cir. 1990); Ellis v. Picklesimer, 135 F.Supp. 2d 717,

720 (M.D. N.C. 2000).

       Although petitioner argues vehemently that she has the right to an evidentiary hearing in

the matter, no such right exists. Despite the presence of conflicting affidavits submitted by the

parties, it is clear that the affidavits of petitioner’s counsel and his office manager are supported

by independent evidence that is completely contrary to the claims of the affidavits of petitioner’s

mother and aunt. See United States v. White, 366 F.3d 291, 296 (4th Cir. 2004) (noting that a

court may view a petitioner’s allegations against the record of the plea hearing to determine

whether the allegations are patently frivolous or false in light of affirmations made by petitioner);

Ellis, 135 F.Supp. 2d at 720 (finding that no evidentiary hearing was required when substantial


                                                  6
Case 4:02-cr-00080-AWA-FBS Document 36 Filed 07/15/05 Page 7 of 11 PageID# 7




independent basis existed for crediting counsel’s affidavit over petitioner’s affidavit). The court

observes that there is no record of any secret plea agreement arranged between Mr. Shea and the

United States. Indeed, it is truly a fantastic assertion on the part of petitioner that her attorney

would commit the kind of fraud she alleges. In contrast to the claims made in her § 2255

petition, the court observes that petitioner’s statements under oath at the Rule 11 colloquy affirm

both her satisfaction with Mr. Shea’s assistance and her understanding that any sentencing

estimate given to her by Mr. Shea was simply a guess on his part.

        In determining that there exists substantial independent support for the affidavits

submitted by the United States, the court is mindful that “[a] defendant’s solemn declarations in

open court affirming [a plea] agreement . . . ‘carry a strong presumption of verity.’” United States

v. Lemaster, 403 F.3d 216, 221 (4th Cir. 2005) (quoting White, 336 F.3d at 295). This is

“because courts must be able to rely on the defendant’s statements made under oath during a

properly conducted Rule 11 plea colloquy.” Id. Except in the case of extraordinary

circumstances, allegations in a § 2255 petition that directly contradict the sworn statements made

by a petitioner during a properly conducted plea colloquy are always “palpably incredible” and

“patently frivolous or false.” Id. See also Crawford v. United States, 519 F.2d 347, 350 (4th Cir.

1975) (ruling that “the district court was not required to conduct an evidentiary exploration of the

truth of an allegation in a § 2255 motion which amounted to no more than a bare contradiction of

statements made by [the petitioner] when he pleaded guilty.”)

        In the instant case, petitioner signed a written plea agreement with the government

indicating that she was pleading guilty to the conspiracy count and the 13 robbery counts. At the

Rule 11 colloquy, when asked by the court if she had read the plea agreement, petitioner


                                                   7
Case 4:02-cr-00080-AWA-FBS Document 36 Filed 07/15/05 Page 8 of 11 PageID# 8




answered that she had. When asked if her attorney had fully explained the plea agreement to her,

she again answered affirmatively. After reviewing the plea agreement with the petitioner, the

court proceeded to inquire into the motivation that petitioner had for pleading guilty.

Significantly, the court had the following exchange with the petitioner:

       The Court: Has anyone, including your attorney or the United States Attorney, made any
       promise of leniency or promise of any kind in return for your plea of guilty, other than
       what is contained in the written plea agreement?
       The Defendant: No.
       The Court: Has anyone threatened you in any way or used force against you to induce you
       to plead guilty?
       The Defendant: No.
                                                ***
       The Court: Do you understand that a presentence report must be prepared by the
       probation office of this court setting forth your personal history as well as the facts of this
       case?
       The Defendant: Yes.
       The Court: And do you understand that until such a presentence report is completed, it’s
       impossible for either the court or your lawyer to know precisely what sentence range will
       be prescribed by the guidelines?
       The Defendant: Yes.
                                                 ***
       The Court: Now, do you understand that at this point it’s unlikely that [your attorney] can
       be specific as to the guidelines which will apply because he may have [sic] not have all of
       the necessary information, and he has not seen a presentence report?
       The Defendant: Yes.
       The Court: Do you understand that you will not be able to withdraw your plea on the
       ground that his prediction as to the guideline range prove [sic] to be in error or
       inaccurate?
       The Defendant: Right.

Plea Hearing Tr. 15-19 (Doc. No. 23).

       Petitioner clearly acknowledged that she knew that at the time of her plea her eventual

sentence remained uncertain. She further acknowledged that no other promises had been used to

induce her to plead guilty other than the plea agreement that was before the court. “[I]n the

absence of extraordinary circumstances, the truth of sworn statements made during a Rule 11


                                                  8
Case 4:02-cr-00080-AWA-FBS Document 36 Filed 07/15/05 Page 9 of 11 PageID# 9




colloquy is conclusively established, and a district court should, without holding an evidentiary

hearing, dismiss any § 2255 motion that necessarily relies on allegations that contradict the

sworn statements.” Lemaster, 403 F.3d at 221-22. Petitioner’s allegations, that her attorney had

promised that her sentence would be between seven and ten years and that he had entered into a

secret plea agreement with the government confirming this, are belied by the facts and by her

sworn statements at the Rule 11 hearing in her case.

       Additionally, the United States has attached a letter sent by the Assistant United States

Attorney assigned to the case, Ms. Sherrie Capotosto, to Mr. Shea, petitioner’s attorney. The

letter clearly states that, by the government’s calculation, petitioner was facing life plus 32 years

imprisonment if convicted on all the counts in the indictment against her. Petitioner is simply

wrong in asserting that she was not facing so severe a penalty. Although the guideline range

suggested in petitioner’s presentence report was 135-168 months, the United States filed a

motion for upward departure from the sentencing guidelines, which this court granted on the

basis that the sheer quantity of the offenses committed by petitioner were not accurately

accounted for in calculating her guideline range. Again, petitioner’s statements at the Rule 11

colloquy clearly indicate that she was aware that her sentence had yet to be determined and that

her attorney would be unable to give her a specific estimate of her sentencing range until the

presentence report had been prepared.

       Even though petitioner’s sentence was in excess of the range called for in the presentence

report, petitioner’s claim that she believed she was only facing seven to ten years imprisonment

is belied by the presentence report’s recommendation, which indicated that the lower end of her

guideline range was still more than 11 years imprisonment. Even assuming, arguendo, that


                                                  9
Case 4:02-cr-00080-AWA-FBS Document 36 Filed 07/15/05 Page 10 of 11 PageID# 10




 petitioner had truly believed she was only facing a maximum of ten years imprisonment, the

 presentence report made it abundantly clear to her that such a belief was in error.

        Because petitioner’s entire claim rests on her allegations of a secret plea agreement and

 the purported guarantees of a lesser sentence therein, and these allegations are directly

 contradicted both by independent evidence and petitioner’s own statements made under oath,

 petitioner’s claim of ineffective assistance of counsel is denied.



 V.     Conclusion

        For the reasons stated on the record, and for those discussed above, the petition is

 DENIED and DISMISSED. Finding no substantial issue for appeal concerning the denial of a

 constitutional right affecting the conviction, nor a debatable procedural ruling, a certificate of

 appealability is DENIED.

        The Clerk is REQUESTED to send a copy of this Order to the petitioner and to the

 United States Attorney, Eastern District of Virginia, World Trade Center, Suite 1800, 101 West

 Main Street, Norfolk, Virginia 23510 .

        The petitioner is ADVISED that she may appeal from this final Order by forwarding a

 written notice of appeal to the Clerk of the United States District Court, United States

 Courthouse, 600 Granby Street, Norfolk, Virginia 23510. Said written notice must be received

 by the Clerk within sixty (60) days from the date of this Order.




                                                  10
Case 4:02-cr-00080-AWA-FBS Document 36 Filed 07/15/05 Page 11 of 11 PageID# 11




 It is so ORDERED.

                                                            /s/
                                                     Jerome B. Friedman
                                              UNITED STATES DISTRICT JUDGE


 July 15th, 2005
 Norfolk, Virginia




                                      11
